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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


SHANNAN WHEELER,
A Texas resident; and                                 CIVIL ACTION
KELLY AND DAVID PHELPS,
Texas residents;                                   Case No.: 4:17­cv­2690
TROOPER COREY PRANTIL,
A Texas resident;                               CLASS ACTION COMPLAINT
RONALD AND BETTY WHATLEY,
Texas residents;                                       Jury Demand
KEITH LYONS,
A Texas resident;
BEVERLY AND ROLAND FLANNELS;
A Texas Resident;
EZEQUIEL VILLAREAL,
A Texas Resident;
BRET AND PHYLLIS SIMMONS,
Texas residents;
DEPUTY GREG NASON,
A Texas resident; and
LARRY AND TANYA ANDERSON,
Texas residents;
on behalf of themselves individually and
all others similarly situated,

                     Plaintiffs,

                     v.

ARKEMA FRANCE S.A.,
a French Société Anonyme corporation, and
ARKEMA INC.,
a Pennsylvania corporation;

                     Defendants.




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                                        I.      INTRODUCTION

               Plaintiffs, SHANNAN WHEELER, KELLY AND DAVID PHELPS, TROOPER

COREY PRANTIL, RONALD AND BETTY WHATLEY, KEITH LYONS, BEVERLY AND

ROLAND FLANNELS, EZEQUIEL VILLAREAL, BRET AND PHYLLIS SIMMONS,

DEPUTY GREG NASON, and LARRY AND TANYA ANDERSON, on behalf of themselves

individually and all others similarly situated, (collectively “Plaintiffs”) through undersigned

counsel, based on their personal knowledge, information and belief, as and for their Class Action

Complaint for damages, equitable, statutory, and injunctive relief against ARKEMA, S.A., a

French corporation; and ARKEMA INC., a Pennsylvania corporation, (collectively

“Defendants”) respectfully allege as follows:

                                  II.        NATURE OF THE ACTION

         1.    As Hurricane Harvey swept up in from the Gulf, residents of Crosby, Texas were

left unprotected from the toxic chemicals stored, used, processed and produced in Arkema’s

plant at the intersection of Eastgate Crosby Road and Highway 90.

         2.    In the early morning hours of August 29, 2017, Arkema called Harris County

Emergency Services requesting that Highway 90 be shut down because of a release into the flood

waters that at that time were across the highway and being driven all around the area by the

storm.

         3.    By mid­day on August 29, 2017, National Guard troops were evacuating residents

from a 1.5 mile exclusion zone around Arkema’s facility warning them not of a chemical release

into the surface waters but only of the risk of explosion.




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       4.      Between August 31, 2017 and September 3, 2017, a series of explosions occurred

culminating with the allegedly controlled ignition of six refrigerated trucks reportedly containing

plastic containers filled with organic peroxide. These explosions resulted in thick, rolling plumes

of toxic smoke that mixed in the wind of the storm to rain ash, dust and particulate matter

throughout the area.

       5.      Scientific testing reveals the presence of four families of toxins, PAHs, SVOCs,

Dioxins/Furans and heavy metals in ash, soil and dust samples taken from class members’

property which correlates to toxins present in Arkema’s Luperox product line manufactured at

their Crosby facility or expected to be created as breakdown chemicals from the ignition of the

product.

       6.      Residents and First Responders breathed a toxic mixture of Arkema’s chemicals

released into the air, sustained additional exposure through dermal contact with contaminated

flood waters and face a potential continuing risk of inhalation, dermal and ingestion exposure to

particulate matter that deposited or precipitated in soil and or on exposed surfaces. Many

exposed experienced negative health effects symptoms some of which have persisted long after

exposure has ended. Residents depend on water wells that have been impacted by flood waters

contaminated by Arkema’s chemicals.

       7.      Relying on Defendants’ characterization of the toxic releases emanating from the

Arkema site government officials established an exclusion zone of 1.5 miles from the Akrema

plant. Given the toxicity of the substances released, the 1.5 mile perimeter was not far enough to

adequately protect either First Responders or those living beyond the perimeter who were not

evacuated. Residents living within the exclusion zone suffered enhanced damage to their



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property because mold was allowed to grow unabated in their homes for eight days until the 1.5

mile exclusion zone order was lifted.

       8.      Defendants could have prevented or avoided this accident with better

precautionary measures, compliance with applicable regulations, and the use of reasonable care.

The foreseeable risks of harm posed could have been reduced or avoided by reasonable

instructions or warnings when it became clear that toxins had been released into the

environment. Those omissions render Arkema’s products not reasonably safe. Exposure to this

toxic mixture in the environment through human pathways caused bodily injury and has created

a need for a medical monitoring program to protect the public from risk.

       9.       Certain other Plaintiffs and Class Members were exposed to the contaminated

water and the polluted air and thus require medical monitoring.

       10.     Plaintiffs and Class Members have incurred costs for displacement, travel, and

other expenses directly related to the contamination of their water supply.

       11.     In addition to damages, the Plaintiffs petition this Court for additional injunctive

relief to protect Plaintiffs and Class Members from further danger.

                                        III.   PLAINTIFFS

       12.     Plaintiffs and Class Members are individuals who have suffered economic losses,

property losses, and non­economic losses or injuries as the result of Arkema’s toxic release.

Plaintiffs and Class Members have all suffered in common an array of damages from the spill,

specifically and as explained in more detail herein, within five basic categories: Physical

Personal Injury Tort Claims; Nonphysical Tort Claims; Property Related Claims; Financial

Claims and Statutory Claims.



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       13.    Putative Class Representative and Plaintiff Shannan Wheeler is above the age of

majority and lives on property he owns in Crosby, Texas within 3.1 miles of the Arkema

Luperox(™) factory. After the toxic flood waters subsided and smoke from the explosions had

passed overhead, he discovered mysterious looking pieces of black ash and black residue in his

yard. His doctor diagnosed him with contact dermatitis after observing a thick, scaly rash he

developed when he mowed his lawn two weeks after the explosions. His property has been

contaminated by toxins emanating from the Arkema Luperox(™) facility. Scientific testing has

revealed the presence of polycyclic aromatic hydrocarbons, dioxins and furans in soil samples

taken from his yard. He seeks damages for personal injury, loss of use and enjoyment of

property, diminution of property value, annoyance, inconvenience, emotional distress, medical

monitoring, punitives and property damage including top­soil replacement along with such

injunctive and declaratory relief as necessary to protect human health and the environment.

       14.    Putative Class Representative and Plaintiff Keith Lyons is above the age of

majority, lives on property he owns in Crosby, Texas within 1.51 miles of south of the Arkema

Luperox(™) factory and serves as a sergeant for the Harris County Sheriff’s Department. He was

not told to evacuate his residence and as such he was was exposed to toxic substances released

from the Arkema Luperox(™) factory on August 29, 2017 and during the explosions on

September 3, 2017. Sgt. Lyons was never warned of potential hazards associated with the toxic

smoke plume and toxic flood waters coming from the Arkema facility. Upon information and

belief, the 1.5 mile evacuation zone was arbitrary and constituted a failure by Defendant

Arkema, Inc. to properly warn of a known hazard. His property has been contaminated by toxins

emanating from the Arkema Luperox(™) facility. Sgt. Lyons seeks damages for personal injury,



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loss of use and enjoyment of property, diminution of property value, annoyance, inconvenience,

emotional distress, medical monitoring, punitives and property damage including top­soil

replacement along with such injunctive and declaratory relief as necessary to protect human

health and the environment.

       15.    Putative Class Representative and Plaintiff Corey Prantil is above the age of

majority and lives in Crosby, Texas on only 1.01 miles south of the Arkema plant. Plaintiff

Corey Prantil is a Texas State Trooper who rents a property next to his grandparents, Putative

Class Representatives and Plaintiffs Ronald and Betty Whatley. On August 29, 2017, Trooper

Prantil was on his way home after being on duty in Liberty County when he encountered a

roadblock on Highway 90 where he was told there had been a release from the Arkema Plant. He

overheard on his radio that a chemical release from the Arkema plant triggered the road block.

He asked Harris County officials When Trooper Prantil finally returned to his home where he fell

fast asleep after over 14 hours on duty.     He was awakened the next morning by National

Guardsmen banging on his door to tell him he had to evacuate because of an explosion risk at the

Arkema plant. He was never told of any chemical release by the National Guard or anyone else.

For the next eight days, Harris County emergency officials established a 1.5 mile exclusion zone

around the Arkema plant. Upon returning to his home after the exclusion zone was lifted he

discovered that the small amount of water that remained in his home had inflicted serious

property damage causing mold to grow, warping the floors of his house and damaging his

personal property. He sought medical treatment after suffering negative health effects. Had he

not been excluded from his home he would have been able to effectively prevent the spread of

mold and thus mitigate damage to his leasehold and personal property. Upon returning to his



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home and inspecting his yard, Trooper Prantil found the strange black ash that spread throughout

the area surrounding the Arkema plant. Scientific testing reveals the presence of PAHs, dioxins,

furans and heavy metals linked to Arkema’s release in the soil of Trooper Prantil’s yard. He

seeks damages from toxic exposure, personal injury, property damage, nuisance, trespass,

medical monitoring, punitive damages and seeks injunctive relief to bring Defendant Arkema,

Inc. into continuing compliance with relevant environmental statutes.

       16.     Putative Class Representative and Plaintiff Ronald and Betty Whatley, are above

the age of majority and live less than one mile south of the Arkema plant. Their residence is

within the 1.5 exclusion zone. They were excluded from their home for eight days because their

property was within the evacuation zone. Flood waters intruded into their home. Upon returning

home after the exclusion zone was lifted, the water that reached their house had inflicted serious

property damage, caused mold to grow and has created a health hazard. Had they not been

excluded from their home they would have been able to effectively prevent the spread of mold

and thus mitigate damage. They were also exposed to toxins from the chemical releases from the

Arkema Luperox(™) factory. They were not warned of the dangers associated with such

exposures. Ms. Whatley has suffered from headaches and respiratory difficulty as a result of the

Defendants’ negligence and has sought medical treatment. Further, the Whatley’s raise cattle and

have possessory rights to several leaseholds they use to grow hay for their herd. This land has

been contaminated by toxins negligently released from the Defendants’ operations. They seek

damages for personal injury, loss of use and enjoyment of property, diminution of property value,

annoyance,    inconvenience, emotional distress, medical monitoring, punitives and property




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damage including top­soil replacement along with such injunctive and declaratory relief as

necessary to protect human health and the environment.

       17.    Putative Class Representatives and Plaintiffs David and Kelly Phelps are above

the age of majority and live in Crosby, Texas only 1.43 miles south of the Arkema Luperox(™)

factory. They were excluded from their home for eight days because their property was within

the evacuation zone. Flood waters reached crawlspace causing mold to grow. Upon returning to

his home after the exclusion zone was lifted the water that reached their house remained in his

home had inflicted serious property damage and has created a health hazard. Had they not been

excluded from their home they would have been able to effectively prevent the spread of mold

and thus mitigate damage. They were exposed to toxins from the chemical releases from the

Arkema Luperox(™) factory. They were not warned of the dangers associated with such

exposures and they suffered from headaches and respiratory difficulty. They seek damages for

personal injury, loss of use and enjoyment of property, diminution of property value, annoyance,

inconvenience, emotional distress, medical monitoring, punitives and property damage including

top­soil replacement along with such injunctive and declaratory relief as necessary to protect

human health and the environment.

       18.    Putative Class Representative and Plaintiffs Larry and Tanya Anderson are above

the age of majority, live over 4 miles southwest of the Arkema Luperox(™) factory and also own

commercial and agricultural properties in close proximity to the Defendants’ facility. They were

exposed to toxic substances released from Defendants’ plant even though their home was outside

the evacuation zone and Mr. Anderson experienced negative health effects. The Andersons own a

56­acre hay field west of the plant contaminated by toxins released from the Arkema facility and



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upon which several jars full of mysterious black ash were recovered. He owns a rental unit and

another commercial property used for the storage of hay that were also contaminated. They seek

damages for personal injury, loss of use and enjoyment of property, diminution of property value,

annoyance,    inconvenience, emotional distress, medical monitoring, punitives and property

damage including top­soil replacement along with such injunctive and declaratory relief as

necessary to protect human health and the environment.

       19.     Putative Class Representative and Plaintiff Ezequiel Villareal is above the age of

majority and owns a large piece of property upon which he operates a horse stable west of the

Arkema Luperox(™) factory. He was never warned of the toxic nature of the releases but

experienced respiratory difficulty and eye irritation while at his stables in the days and weeks

after the releases. He had to return to the stables each day because the valuable horses under his

care would not have survived had he not fed and watered them. Not only was Mr. Villareal

exposed to the toxins which emanated from the Defendants’ facility during the Defendants’

various releases but scientific tests reveal that PAHs, dioxins, furans and other toxic compounds

have contaminated his property. He seeks damages for personal injury, loss of use and enjoyment

of property, diminution of property value, annoyance, inconvenience, emotional distress, medical

monitoring, punitives and property damage including top­soil replacement along with such

injunctive and declaratory relief as necessary to protect human health and the environment.

       20.     Putative Class Representative and Plaintiffs Beverly and Roland Flannel are

married, above the age of majority and live in Crosby, Texas just over six miles south of the

Arkema Luperox(™) factory. They were exposed to the toxins released from the Arkema facility,

experienced negative health impacts, sought medical treatment, and are concerned about



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long­term effects on their health. Scientific testing reveals their property was contaminated with

toxins released from the site. They seek damages for personal injury, loss of use and enjoyment

of property, diminution of property value, annoyance,          inconvenience, emotional distress,

medical monitoring, punitives and property damage including top­soil replacement along with

such injunctive and declaratory relief as necessary to protect human health and the environment.

       21.     Putative Class Representative and Plaintiff Deputy Greg Nason is above the age

of majority and lives on property he owns with his wife and children on a large piece of property

3 miles miles west of the the Arkema Luperox(™) facility. He and family were not evacuated

despite the fact that they were so close to the facility that they were exposed to toxins as a result

of the various releases from Arkema.         Scientific testing revealed the presence of various

contaminants which emanated from Defendant Arkema’s facility. He experienced negative health

effects. He seeks damages for personal injury, loss of use and enjoyment of property, diminution

of property value, annoyance, inconvenience, emotional distress, medical monitoring, punitives

and property damage including top­soil replacement along with such injunctive and declaratory

relief as necessary to protect human health and the environment.

       22.     Putative Class Representative and Plaintiffs Bret and Phyllis Simmons is above

the age of majority and lives Crosby, Texas outside of the evacuation zone. As the floodwaters

threatened to enter his home on August 25, 2017, he and his wife hopped on his motorcycle to

evacuate to his place of employment on higher ground at the intersection of Adlong Johnson

Road and Highway 90 just across from the Arkema facility. They stayed there until the morning

of August 29, 2017 when he saw the National Guard evacuating people who lived along Adlong

Johnson Road. Mr. Simmons spoke to the National Guardsmen who informed him that the



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evacuation was prompted by a risk of explosion at the Arkema facility. At no time did the

National Guard ever inform Mr. Simmons that thousands of pounds of toxic chemicals spilled

the night before from two tanks filled with toxic waste. Although the National Guardsman told

Mr.Simmons they would be returning to evacuate he and his wife, they never returned.

Eventually, Mr. Simmons and his wife got back on the motorcycle and tried to make it Highway

90. Mrs. Simmons, being deathly afraid of snakes in the water, rode on the back of the

motorcycle in such a manner that her legs were not in the water. The motorcycle stalled shortly

after they began their escape attempt. Mr. Simmons stepped off the motorcycle to push the

motorcycle and his wife out of the flood waters to safety. As he waded through the water closer

to the Arkema Luperox(™) factory, his legs began to burn, he cried out in pain but kept pushing

the motorcycle, imploring his wife to continue to keep her legs out of the water. Both Mr.

Simmons and his wife experienced respiratory difficulty as they breathed in toxic fumes coming

off of the floodwaters as they moved closer and closer to the Arkema facility. His legs burned

more intensely as he continued to wade through the toxic water until he finally reached higher

ground along Highway 90. He and his wife examined his legs to find blisters, lesions and burns

where his skin had come in contact with water polluted by Arkema’s toxic waste. For a few days,

his wife tried to no avail to treat the lesions and burns on his legs. Finally, on September 15,

2017, he sought treatment for his skin conditions. As of filing, his symptoms persist. They seek

damage for toxic exposure, personal injury, medical monitoring, punitive damages and injunctive

relief to bring Defendant Arkema, Inc. into continuing compliance with relevant environmental

statutes.




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                                       IV.        DEFENDANTS

        23.     Defendant Arkema Inc., a Pennsylvania corporation with its principal place of

business in King of Prussia, Pennsylvania is the owner, operator and permittee of the Arkema

facility that the subject of this lawsuit. Defendant Arkema, Inc. is an operating subsidiary of

Defendant Arkema S.A. 1

        24.     Defendant Arkema, S.A., is a publicly traded foreign corporation having its

principal place of business in Colombes, France. Defendant Arkema, S.A. is the parent

corporation of Defendant Arkema, Inc. Upon information and belief, Arkema, S.A. exercises

complete dominion and control over its wholly­owned subsidiary, Defendant Arkema, Inc. and

as such is responsible for the damages caused to the Plaintiffs by its subsidiary. Further,

Defendant Arkema, S.A. is directly responsible for its own conduct, failure to act and negligence

including but not limited to failing to exercise due diligence when it purchased the facility that is

the subject of this lawsuit and in its failure to properly manage environmental risks, in its failure

to insist that corporate environmental policies be followed and in its failure to properly capitalize

Defendant Arkema, Inc. Defendant Arkema, S.A. managed, oversaw, planned, conducted,

participated in, allowed, capitalized and profited from negligent, dangerous, hazardous and/or

ultra­hazardous handling, storage, production and disposal of the toxic chemicals found at the

facility which is the subject of this lawsuit.

                                             V.    JURISDICTION

        25.     Original jurisdiction of this Court is invoked pursuant to 28 U.S.C.A. §§ 1331 and

1332(d)(2). This Court is vested with jurisdiction by virtue of 28 U.S.C. §1332(d). Minimal



       Together, Defendants Arkema, Inc. and Defendant Arkema, S.A. are referenced as the
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Arkema Defendants.
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diversity exists between named Plaintiffs of this putative class action, each of whom are citizens

of the State of Texas, and Defendant Arkema France S.A. is a citizen of France, and Defendant

Arkema Inc. is a citizen of Delaware, its state of incorporation, and Pennsylvania, its

headquarters and principal place of business location. The proposed class exceeds 100 persons.

Further, the amount in controversy exceeds $5,000,000.00.

        26.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)(2), in that a

substantial portion of the events and omissions giving rise to Plaintiffs’ claims occurred in this

district.

                                  VI.        FACTUAL ALLEGATIONS

                                        A.     Arkema Defendants

        27.     At their chemical plant in Crosby, Texas, the Arkema Defendants used, controlled,

stored, manufactured, distributed, transported, and disposed of hundreds of known toxic

chemicals used in the production of the Luperox(™) family of chemicals used in the production

of plastic bottles.

        28.     The Arkema Defendants knew that the organic peroxide products produced and

stored at the plant would burst into flames if not refrigerated.

        29.     During Hurricane Harvey, the Arkema Luperox(™) factory predictably lost power

and flooded.

        30.     The Arkema Defendants were unprepared and unable to maintain refrigeration for

their highly flammable inventory of Luperox(™).




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       31.     According to Texas Department of Environmental Quality (TDEQ) documents,

personnel of Defendants, Arkema, Inc. removed the containers of organic peroxides from storage

and placed them in refrigerated trailers.

       32.     According to TDEQ documents, ultimately the refrigeration of the organic

peroxide products was also compromised by flood waters.

       33.     According to TDEQ documents, that loss of refrigeration led to product

decomposition.

       34.     As the chemicals reached room temperatures, chemical reactions associated with

decomposition of the organic peroxide products ignited the mixture sending up a cloud of

combusting organic peroxide along with fumes from burning plastic containers, tires and

insulation.

       35.     In media reports since the explosions, officials speaking on behalf of the Arkema

Defendants stated that the cause of the explosions was a lack of power which hindered efforts to

maintain refrigeration of thousands of individual plastic containers filled with organic peroxide.

       36.     Between August 31, 2017 and September 3, 2017,, nine refrigerated tractor

trailers containing up to 10,000 plastic containers filled with Luperox(™) exploded at the

Arkema chemical plant sending massive plumes of thick black and gray smoke into the air.

       37.     According to TDEQ records, the ignitions released 62,394 pounds of toxic

chemicals into the air. TDEQ’s reports on the air emissions list the following chemicals as being

emitted into the air by the explosions: ethylhexanol, ethyl hexaldehyde, acetone, acetophenone,

ethane, nonane, nonene, isobutane, isobutene, N­propanol, carbon monoxide, NO2 and other




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VOCs partially from burning diesel. Additionally, other novel exposures can be expected

because of the reactions and combination that likely occurred during the explosions.

       38.     Although spokesmen for the Arkema Defendants have publicly claimed that a

power outage and flooding associated with Hurricane Harvey caused a loss of refrigeration

which led to the explosions, the Arkema Defendants knew or should have known that site of the

Arkema’s Luperox plant lies in a floodplain and is prone to flooding.

       39.     The Arkema Defendants knew or should have known that given the likelihood of

flooding and the likelihood of a hurricane striking its local electric utility that it was entirely

forseeable that the facility would face a situation where a loss of electrical service from its utility

during a hurricane would coincide with flooding.

       40.     The Arkema Defendants failed to design, maintain or operate their Luperox(™)

factory in a manner that could safely store the highly unstable organic peroxide in the very likely

event of a power outage during a hurricane. Defendant Arkema, Inc. reports in its SDS that its

product Luperox(™) contained less than 10% of organic peroxides. The product is largely made

up of petroleum distillates.

       41.     Defendant Arkema, Inc. reports in its SDS that Luperox(™) releases toxic

chemicals if burned.

       42.     Defendant Arkema, being in the chemical industry, knew or should have known

that the plastic containers in which the Luperox (™) was stored would release toxic materials in

the atmosphere if burned.

       43.     Despite the fact that virtually everything stored, used, manufactured, processed or

disposed of at Defendant Arkema’s plant was toxic, Defendant Arkema’s CEO insisted that the



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smoke from the fire was not toxic. The Arkema Defendants owed a duty to honestly disclose the

toxic nature of the smoke that blew over the Plaintiffs and their property.

       44.     In addition to the Luperox(™) explosions, there was also a toxic release of liquid

contaminants from a storage tank at the facility into the floodwaters which then migrated off­site

before the explosions began.

       45.     According to TDEQ documents, on August 29, 2017, two waste water tanks

accumulated large amounts of rain water which exceeded the tanks’ capacity which caused the

tank contents to overflow into the tanks’ containment dike. The containment dike exceeded its

capacity which resulted in the release of stormwater containing what the TDEQ characterized as

mineral spirits and residual organics into the flood waters within the plant.

       46.     According to TDEQ documents, an estimated 23,608 pounds of contaminants

were released from two tanks including: ethylbenzene,mineral spirits, naptha, naphthalene,

organic peroxides, trimethylbenzene, tert­butyl alcohol, 2,5 dimethyl­2,5

di(t­butylperoxy)hexane and t­amyl alcohol.

       47.     Upon information and belief, personnel from Defendant Arkema, Inc. contacted

Harris County officials to request that Highway 90 be closed because of a release of chemicals

from the facility into the flood waters. In an effort to absolve the Arkema Defendants, TDEQ

later characterized the release as an air emission event rather than what it really was­ a release of

tens of thousands of pounds of toxic waste into flood water flowing off site driven by the storm.

       48.     Defendant Arkema never issued any warnings to the public regarding this release

and in fact refused to give details about the nature of the release to law enforcement officials

from the State of Texas and Harris County. Not until the Defendant TCEQ finally released their



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report over one week after the release did the public have any notice that over 20,000 pounds of

deadly chemicals released into flood waters roiling through the residential and agricultural

properties surrounding the plant.

       49.     Plaintiffs’ testing of surface water in ditches leading from the Arkema

Luperox(™) factory to nearby Cedar Bayou revealed the presence of numerous toxic materials

and heavy metals consistent with chemicals implicated in both the explosions and the waste

water tank failure.

       50.     On information and belief, plaintiffs allege that intermittent effluent discharges

from the Arkema Cosby Plant (a Class 3 site) into Cedar Bayou create an imminent and

substantial endangerment to public health.

       51.     The Arkema Defendants either knew or should have known of the obvious poor

conditions and environmental practices at the site and knew or with the exercise of reasonable

diligence should have known of the threat of chemical release. Given the known toxicity of the

chemicals at the site, the Arkema Defendants either knew or should have known that its warnings

were insufficient under the circumstances.

                                B.     Environmental Evidence

       52.     Environmental evidence gathered thus far by the Putative Class Representatives

and Plaintiffs indicate that property and persons within seven miles of the Arkema Luperox(™)

factory were exposed to toxic substances and negatively impacted by toxic releases from the site

between August 29, 2017 and September 3, 2017.




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       53.     All of the Putative Class Representatives and Plaintiffs witnessed the dark plumes

of smoke that arose from the Arkema Luperox(™) factory and smelled noxious odors that

accompanied the plume.

       54.     Putative Class Representative and Plaintiff Shannan Wheeler noticed strange

black ash in his yard and an odd black, oily residue on sandy areas in yard after last explosions at

took place on Sunday, September 3.

       55.     Experts engaged by the Putative Class Representatives and Plaintiffs have

gathered samples of the black ash as far as 3.8 miles west and 1.4 miles north of the Arkema

Luperox(™) factory.

       56.     Scientific analysis of that black ash and the black residue revealed the presence of

metals and chemicals linked to the products either stored and manufactured at the Arkema

Luperox(™) factory or chemicals and compounds suspected to have been created in the spills,

fires and explosions.

       57.     Samples of the black ash indicated the presence of napthalene. Napthalene is a

polycyclic aromatic hydrocarbon (PAH) listed as an ingredient of the SDSs of Luperox(™)

products.

       58.     Sampling of ash material deposited in yards from Arkema Plant explosion,

surface water, soils, drinking well water, surface dust, and other bulk materials has been

performed to investigate impacts from the Arkema Plant explosion on residential properties

surrounding the Arkema Plant.

       59.     The collected samples have been analyzed for heavy metals and cyanide, volatile

organic compounds (VOCs), semi­volatile organic compounds (SVOCs), polycyclic aromatic



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compounds (PAHs), Dioxins, Furans, and Tentatively Identified Compounds (TICs). Results

received to date have identified compounds from each of these analytical groups. The presence

of such toxins, including many man­made substances, in concert with eye­witness accounts of

smoke plumes, black ash, black residue and physical symptoms offers substantial support for the

proposition that a completed exposure pathway existed between the Defendants’ facility and the

Plaintiffs’ property.

        60.     Analysis for metals and inorganics revealed detections for a number of metals:

aluminum, antimony, barium, calcium, chromium, cobalt, copper, iron, lead, manganese, nickel,

potassium, sodium, thallium, vanadium, zinc, and cyanide. While these metals are found in the

Earth’s crust, their appearance consistently throughout the samples indicates linkage to activities

at the Arkema facility. The concentrations of aluminum, barium, calcium and zinc present a

marker establishing an environmental pathway even if the detected concentrations fall below

levels expected to cause negative health impacts.

        61.     Testing also revealed a number of Volatile Organic Compounds (VOCs): acetone,

bromodichloromethane, bromoform, chloroform, dibromochloromethane. The EPA classified

bromoform as a probable human carcinogen and dibromochloromethane as a possible human

carcinogen. There is evidence that eating or drinking bromodichloromethane causes liver, kidney,

and intestinal cancer in rats and mice. The Department of Health and Human Services (DHHS)

has determined that bromodichloromethane is reasonably anticipated to be a human carcinogen.

        62.     Lab tests identified were semi­volatile organic compounds (SVOCs): benzoic

acid, bis(2­ethylhexyl)phthalate, di­n­butyl phthalate. Additionally, GCMS analysis revealed the

presence of several SVOC Tentatively Identified Compounds (TICs): Unknown hydrocarbons,



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unknown compounds, azuleno [4,5­b]furan­2,9­dione; decahydro, n­hexadecanoic acid; gamma

sitosterol, 1­hexanol; 2­ethyl­, hexanoic acid; 2­ethyl­, diethyltoluamide; hexanoic acid; butanoic

acid, ethane, 1,1,2,2­tetrachloroethane.

       63.     Tests of ash samples, surface water samples and soil samples revealed the

presence of the following polycyclic aromatic hydrocarbons (PAHs): acenaphthylene,

benzo(a)anthracene,        benzo(a)pyrene,       benzo(b)fluoranthene,       benzo(g,h,i)perylene,

benzo(k)fluoranthene,      chrysene,       dibenzo(a,h)anthracene,     fluoranthene,     fluorene,

indeno(1,2,3­cd)pyrene, naphthalene, phenanthrene, pyrene,2­methylnaphthalene.

       64.     Polycyclic aromatic hydrocarbons (PAHs) are a group of over 100 different

chemicals that are formed during the incomplete combustion. The Department of Health and

Human Services (DHHS) has determined that some PAHs may reasonably be expected to be

carcinogens. Due to carcinogenic effects, USEPA establishes a maximum contaminant level for

one   found    in   some    samples,   benzo(a)pyrene,    the   most     carcinogenic PAH, and

benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene at 0.2 parts per billion. Other carcinogenic

PAHs include dibenzo(a,h)anthracene, indeno(1,2,3­c,d)pyrene, all of which are listed above.

       65.     Disturbingly, testing also found detections of the following Dioxins and Furans:

2,3,7,8­tetrachlorodibenzodioxin (tcdd), pentachlorodibenzo­p­dioxin (12378­pecdd),

hexachlorodibenzo­p­dioxin, heptachlorodibenzo­p­dioxin, octachlorodibenzo­p­dioxin,

tetrachlorodibenzofuran, pentachlorodibenzofuran, hexachlorodibenzofuran,

heptachlorodibenzofuran, octachlorodibenzofuran, pentachlorodibenzo­p­dioxin.

                              VII.     CLASS ACTION ALLEGATIONS




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       66.     Plaintiffs seek to represent the following class of individuals: All persons within

seven miles of the Arkema Luperox(™) factory in Crosby, Texas who have either been exposed

to toxic substances released from the Arkema facility between August 29, 2017 and September3,

2017 and/or all persons possessing an interest in property located within 7 miles from the

Arkema facility.

       67.     Excluded from the Class are the Defendants and their officers, directors, and

employees, as well as the Court and its personnel working directly on the case with the exception

of court reporters.

       68.     Plaintiffs and all others similarly situated are entitled to have this case maintained

as a class action pursuant to Federal Rules of Civil Procedure for the following reasons:

               (1) The prerequisites for a class action under Federal Rule of Civil Procedure

                      23(a) are met. The class is so numerous that joinder of all persons is

                      impracticable. As many as ten thousand (10,000) people are adversely

                      affected by Defendants’ release of toxic chemicals. The exact number of

                      Class Members can be readily determined from the United States Census

                      Bureau.

               (2) There are common issues of law and fact, including: (a) whether Defendants

                      are liable for damages to the class for negligently allowing the release of

                      toxic chemicals and/or failure to warn of its toxicity; (b) the scope of

                      damages caused by the Defendants’ conduct; (c) whether Defendants are

                      strictly liable for conducting an ultra­hazardous activity injurious to members

                      of the class; (d) whether Defendants are liable for nuisance and trespass; and,



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                    (e) whether the Defendants may be compelled under statute or court order to

                    take steps to protect human health and the environment including but not

                    limited to medical monitoring, top­soil replacement, a compliance audit and

                    improved environmental safety measure. These and other common issues of

                    law and fact relate to and affect the rights of Plaintiffs and Class Members.

       69.     Plaintiffs’ claims are typical of the class. Plaintiffs reside and/or were present

within the affected area.

       70.     Plaintiffs have suffered annoyance, aggravation, personal and bodily injuries, as

well as economic loss and bodily injury to their real and personal property and/or have been

subjected to health risks, that are typical of the experience of the Class Members. Plaintiffs’

interests are identical to and aligned with those of other Class Members. Plaintiffs and the Class

Members have suffered an array of damages all stemming from the common trunk of facts and

issues related to the spill. Those damages are as follows:

               (1) Physical Personal Injury Tort Claims are pursued by Class Members for

                    bodily injury, emotional distress, and medical monitoring;

               (2) Non­Physical Tort Claims are pursued by Class Members for annoyance, loss

                    of enjoyment, nuisance, and inconvenience;

               (3) Property Related Claims are pursued by Class Members for trespass,

                    property damage, and loss of use of property; and

               (4) Financial Claims are pursued by Class Members for lost income and loss of

                    business claims.




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       71.      Plaintiffs will fairly and adequately represent and protect the interests of the class

because:

                (1) Plaintiffs have retained counsel experienced in the prosecution of class action

                     litigation who will adequately represent the interests of the class;

                (2) Plaintiffs and their counsel are aware of no conflicts of interest between

                     Plaintiffs and absent Class Members or otherwise that cannot be managed

                     through the implementation of available procedures;

                (3) Plaintiffs, through their counsel have adequate financial resources to assure

                     that the interests of the class will be protected; and

                (4) Plaintiffs are knowledgeable concerning the subject matter of this action and

                     will assist counsel in the prosecution of this litigation.

       72.      A class action may be maintained under Federal Rule of Civil Procedure 23(b)(2)

because the parties opposing the class, the Arkema defendants, have acted and/or refused to act

on grounds that apply generally to the class, so that final injunctive relief is appropriate

respecting the class as a whole. Plaintiffs and the Class seek an injunction requiring:

             ● Amendment of Arkema’s Spill Prevention Control and Countermeasure plan to

                include provisions that would prevent future preventable incidents such as this, or

                in the alternative, the resiting of the plant to a location where it does not endanger

                the public;

             ● Measures to ensure that continuous power is provided to operate safely;

             ● Amendments to Arkema’s community warning plans; and




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             ● A third party compliance audit of Arkema's entire waste management operation

                and environmental health and safety program.

             ● Top­soil replacement to remediate continuing threats to human health and the

                environment.

             ● Medical Monitoring and Medical Surveillance to protect human health.

       If this injunctive relief is not granted, great harm and irreparable injury to Plaintiffs and

members of the Class will continue, and Plaintiffs and members of the Class have no adequate

remedy at law for the injuries which are threatened to occur. Absent action from this Court,

Arkema defendants will continue to damage Plaintiffs and members of the Class and threaten

future injury. Defendants’ actions and inactions are generally applicable to the Class as a whole,

and Plaintiffs seek, inter alia, equitable remedies with respect to the Class as a whole.

       73.      A class action may also be maintained under Federal Rule of Civil Procedure

23(b)(3) because common issues of law and fact predominate over those issues that might pertain

to individual cases, and a class action is superior to other available procedures for the fair and

efficient adjudication of this controversy.       The interests of all members of the class in

establishing the liability of Defendants, and their relative fault, for the release of toxic chemicals

are cohesive. The certification of a Class seeking damages is an appropriate means by which

injured Plaintiffs and Class Members may assert claims to recover economic losses and property

damage, as well as assert claims for personal and bodily injury, annoyance, aggravation and

inconvenience.

       74.      A class action may be maintained under Federal Rule of Civil Procedure 23(b)(2)

because Defendants have acted or refused to act on grounds that apply generally to the Class,



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thereby making appropriate the entry of equitable or injunctive relief, including a medical

monitoring protocol and injunctive relief to prevent recurrence of the conduct in the future.

       75.     Further, any denial of liability and defenses raised by the Defendants would be

applicable to all claims presented by all members of the class or can otherwise be managed

through available procedures.

       76.     Defendants’      conduct   presents   predominant   common      factual questions.

Fundamentally, all of the Plaintiffs’ claims arise out of a single course of conduct by Defendants

that caused the release of toxic chemicals from the Arkema plant.. Although this was an incident

that affected a sizeable geographic area and many individuals and businesses, it can be traced

back to actions made jointly and severally by the small group of Defendants named here.

Whether Plaintiffs and the Class Members are presenting one or more of the four relevant

categories of Physical Personal Injury Tort Claims, Non­Physical Tort Claims, Property Claims,

and Financial Claims, they will present common liability proof that is the same for each member

of the Class. Across claim categories, Plaintiffs’ common proof of Defendants’ liability will

involve the same cast of characters, events, discovery, documents, fact witnesses, and experts.

       77.     The need for proof of Plaintiffs’ and Class Members’ damages will not cause

individual issues to predominate over common questions. The amounts of economic and

non­economic losses, consistent with each of the four categories of claims, can be efficiently

demonstrated either at trial or as part of routine claims administration through accepted and

court­approved methodologies with the assistance of court­appointed personnel, including

Special Masters. Certain types or elements of damage are subject to proof using aggregate

damage methodologies or simply rote calculation and summation.



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       78.      A class action is superior to maintenance of these claims on a claim­by­claim

basis when all actions arise out of the same circumstances and course of conduct. A class action

allows the Court to process all rightful claims in one proceeding. Class litigation is manageable

considering the opportunity to afford reasonable notice of significant phases of the litigation to

Class Members and permit distribution of any recovery. The prosecution of separate actions by

individual Class Members, or the individual joinder of all Class Members in this action, is

impracticable and would create a massive and unnecessary burden on the resources of the courts

and could result in inconsistent adjudications, while a single class action can determine, with

judicial economy, the rights of each member of the class or subclasses, should that be determined

to be appropriate.

       79.      The conduct of this action as a class action conserves the resources of the parties

and the court system, protects the rights of each member of the class, and meets all due process

requirements.

       80.      Certification of the Class with respect to particular common factual and legal

issues concerning liability and comparative fault, as well as the necessary and appropriate

quantum of punitive damages, or ratio of punitive damages to actual harm, is appropriate under

Federal Rule of Civil Procedure 23(c)(4).

       81.      The particular common issues of liability, comparative fault, and the quantum of

punitive damages or ratio of punitive damages to actual harm, are common to all Class Members

no matter what type of harm or injury was suffered by each Class Member.

                                     VIII. CAUSES OF ACTION

                     A.    Count One ­ Negligence Against the Arkema Defendants



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         82.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

         83.    The conduct, acts and omissions of the Defendants violated duties owed to

Plaintiffs and the Class. Defendants’ negligence proximately caused damage to Plaintiffs and the

Class.

         84.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

                                     B.      Count Two ­ Trespass

         85.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

         86.    The conduct of Defendants as set forth herein constitutes trespass which resulted

in damages to plaintiffs.

                                    C.      Count Three ­ Nuisance

         87.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

         88.    The conduct of Defendants as set forth herein constitutes the tort of nuisance

which resulted in damages to plaintiffs.

                               D.        Count Four ­ Property Damage

         89.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

         90.    The conduct of Defendants as set forth herein constitutes the tort of property

damage which resulted in damages to plaintiffs.



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                                E.         Count Five ­ Personal Injury

        91.     Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        92.     The conduct of Defendants as set forth herein constitutes the tort of personal

injury which resulted in damages to plaintiffs

                                F.         Count Six ­ Failure to Warn

        93.     Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        94.     The conduct of Defendants as set forth herein constitutes the tort of failure to

warn which resulted in damages to plaintiffs.

                               G.      Count Seven ­ Product Liability

        95.     Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        96.     The conduct of Defendants as set forth herein constitutes the tort of product

liabilty which resulted in damages to plaintiffs.

                          H.        Count Eight ­ Ultra­Hazardous Activity

        97.     Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        98.     The conduct of Defendants as set forth herein constitutes the tort of

ultra­hazardous liability which resulted in damages to plaintiffs.

                                      I.     Count Nine ­ Gross Negligence




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        99.     Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        100.    The conduct of Defendants as set forth herein was reckless and wanton,

constituting the tort of gross negligence, which resulted in damages to plaintiffs.




                     J.        Count Ten ­ Negligent Infliction of Emotional Distress

        101.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        102.    The conduct of Defendants as set forth herein was reckless and wanton,

constituting the tort of negligent infliction of emotional distress, which resulted in damages to

plaintiffs.

                                  K.     Count Eleven ­ Punitive Damages

        103.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        104.    The conduct of Defendants as set forth herein was malicious, oppressive, willful,

wanton, reckless, and/or criminally indifferent to civil obligations affecting the rights of others,

including Plaintiffs. Plaintiffs and the Class are thus entitled to recover punitive damages against

Defendants.

        105.    Defendants were malicious, oppressive, willful, wanton, reckless, and/or

criminally indifferent to civil obligations affecting the rights of others, including Plaintiffs, in




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their activities and in failing to warn Plaintiffs of dangers well known to Defendants, which acts

exhibited a deliberate disregard for the rights and safety of Plaintiffs.

       106.    Defendants realized the imminence of danger to Plaintiffs and other members of

the public, but continued their ultra­hazardous activities with deliberate disregard and complete

indifference and lack of concern for the probable consequences of their acts.

       107.    As a direct result of Defendants’ deliberate disregard for the rights and safety of

others, gross negligence, malicious, oppressive, willful, wanton, reckless, and/or criminally

indifferent to civil obligations affecting the rights of others, including Plaintiffs, Plaintiffs

suffered the injuries and dangers stated above.

       108.    Defendants’ acts as described herein exhibited deliberate disregard for the rights

and safety of others and were malicious, oppressive, willful, wanton, reckless, and/or criminally

indifferent to civil obligations affecting the rights of others, including Plaintiffs. An award of

punitive and exemplary damages is therefore necessary to punish Defendants, and each of them,

and to deter any reoccurrence of this intolerable conduct. Consequently, Plaintiffs are entitled to

an award of punitive damages.

       109.    The conduct of Defendants as set forth herein was malicious, oppressive, willful,

wanton, reckless, and/or criminally indifferent to civil obligations affecting the rights of others,

including Plaintiffs. Plaintiffs and the Class are thus entitled to recover punitive damages against

Defendants in an amount sufficient to punish Defendants for their wrongful conduct and to deter

Defendants and others from similar wrongful conduct in the future.

        L.      Count Twelve ­ Piercing Corporate Veil Against Arkema Defendants




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        110.    Plaintiffs re­allege each and every allegation set forth in all preceding paragraphs

as if fully restated herein.

        111.    Plaintiffs are informed, believe and thereupon allege that the corporate veils of

Defendant Arkema France S.A. and Arkema, Inc. be pierced and their corporate forms

disregarded on the following grounds: First, Arkema France S.A. has organized and operated

Arkema, Inc. as an alter ego, mere tool or business conduit with sufficient financial interests and

unity that holding only Arkema, Inc. liable would result in injustice. Second, Arkema France

S.A has used Arkema, Inc. to evade the legal duty of care. Third, Arkema France, S.A. has used

Arkema, Inc. to circumvent the applicable environmental statutes and duties. Fourth, Arkema

France S.A. has inadequately capitalized Arkema, Inc. for the type of business it has been

conducting.

                                     IX.     PRAYER FOR RELIEF

      112.     WHEREFORE, the Plaintiffs respectfully pray for a Jury Trial and for the

following relief:

                (1) An Order certifying this action to proceed as a Class Action, authorizing

                     Plaintiffs to represent the interests of the Class or subclasses as appropriate

                     and appointing undersigned counsel to represent the Class;

                (2) An award of damages for Class Members who suffered business or economic

                     losses as a result of Defendants’ conduct, acts, or omissions;

                (3) An award of damages or mechanism for recovery for Class Members who

                     incurred costs for water replacement, travel, home repair and any other




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           out­of­pocket expenses as a result of the Defendants’ conduct, acts, or

           omissions;

       (4) An award of damages or mechanism for recovery to compensate those who

           sought medical attention or advice after exposure to the contaminated water.

       (5) An award of damages or mechanism for recovery to compensate for personal

           injury;

       (6) An award of damages or mechanism for recovery to compensate for loss of

           use and enjoyment of property, annoyance, nuisance, aggravation, and

           inconvenience;

       (7) An award of punitive damages for all Class Members who were exposed to

           Arkema’s toxic chemicals;

       (8) Prejudgment and post­judgment interest;

       (9) Damages for lost wages;

       (10) An Order establishing a Medical Monitoring Program designed to survey as

           appropriate and to protect the Class Members from latent, dread disease,

           funded by the Defendants;

       (11) An Order establishing such administrative procedures as are reasonable to

           effectuate the relief granted Plaintiffs and the Class Members;

       (12) That the Court order the Defendants to pay for the costs of this proceeding,

           including reasonable attorneys’ fees and costs, including, but not limited to,

           costs of class notice and administration; and

       (13) Such other relief as the Court or Jury may deem appropriate.



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                               Respectfully Submitted,

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